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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 19 B 22326
         Rogaciano Aviles
         Maria Aviles
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 08/08/2019.

         2) The plan was confirmed on 02/25/2020.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/09/2020.

         5) The case was Dismissed on 12/29/2020.

         6) Number of months from filing or conversion to last payment: 14.

         7) Number of months case was pending: 19.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                       $30,700.00
           Less amount refunded to debtor                                  $4,382.63

 NET RECEIPTS:                                                                                               $26,317.37


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                            $2,310.00
     Court Costs                                                                          $0.00
     Trustee Expenses & Compensation                                                  $1,282.87
     Other                                                                                $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                             $3,592.87

 Attorney fees paid and disclosed by debtor:                            $1,690.00


 Scheduled Creditors:
 Creditor                                                  Claim         Claim            Claim        Principal       Int.
 Name                                            Class   Scheduled      Asserted         Allowed         Paid         Paid
 Ally Financial                              Secured       15,937.00     15,029.90        15,029.90            0.00        0.00
 American InfoSource LP as agent for Direc   Unsecured         410.00        410.74           410.74           0.00        0.00
 Arete Investment Fund I, LLC                Secured             0.00    29,601.61        29,601.61            0.00        0.00
 Arete Investment Fund I, LLC                Secured       92,347.92     75,307.34        75,307.34      19,457.78    2,463.67
 Byline Bank                                 Unsecured           0.00           NA               NA            0.00        0.00
 Enhanced Recovery Company                   Unsecured         192.00           NA               NA            0.00        0.00
 Illinois Dept of Revenue 0414               Priority            0.00        800.40           800.40        800.40         2.65
 Illinois Dept of Revenue 0414               Unsecured           0.00         85.06            85.06           0.00        0.00
 Internal Revenue Service                    Priority      15,000.00           0.00             0.00           0.00        0.00
 Internal Revenue Service                    Unsecured           0.00      6,726.92         6,726.92           0.00        0.00
 Merchants Credit Guide                      Unsecured         515.00           NA               NA            0.00        0.00
 Portfolio Recovery Associates               Unsecured           0.00      2,123.87         2,123.87           0.00        0.00
 Santander Consumer USA Inc                  Secured       18,669.00     17,529.71        17,529.71            0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal            Interest
                                                            Allowed                Paid                Paid
 Secured Payments:
       Mortgage Ongoing                                  $75,307.34         $19,457.78            $2,463.67
       Mortgage Arrearage                                     $0.00              $0.00                $0.00
       Debt Secured by Vehicle                           $32,559.61              $0.00                $0.00
       All Other Secured                                 $29,601.61              $0.00                $0.00
 TOTAL SECURED:                                         $137,468.56         $19,457.78            $2,463.67

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00              $0.00
        Domestic Support Ongoing                               $0.00              $0.00              $0.00
        All Other Priority                                   $800.40            $800.40              $2.65
 TOTAL PRIORITY:                                             $800.40            $800.40              $2.65

 GENERAL UNSECURED PAYMENTS:                               $9,346.59              $0.00              $0.00


 Disbursements:

         Expenses of Administration                             $3,592.87
         Disbursements to Creditors                            $22,724.50

 TOTAL DISBURSEMENTS :                                                                      $26,317.37


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/22/2021                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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